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AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the

District of Columbia (-]
United States of America )
v. )
Lauren Handy Case No, 22-cr-96
Defendant )

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: Rodney Adams, Esq.
* 401 E. Street, S.W.,
Washington, D.C. 20024

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

Place of Appearance: United States District Court Courtroom No.: OBA
for the District of Columbia eS
333 Constitution Ave. N.W, Date and Time: — August 9, 2023, at 9:00am
Washington, D.C_20001 Se

You must also bring with you the following documents, electronically stored information, or objects (blank if not

applicable): Voy are directed to bring with you all documentation of any sort in any medium, including investigator's
notes or other staff notes, autopsy or other reports, written correspondence, emails, texts, photographs
and videos relating to the fetal remains recovered by law enforcement from the home of defendant Lauren
Handy, 409 1/2 6th Street Southeast, Washington, D.C. 20003, on or about March 30th, 2022.

(SEAL)

Date: 07/05/2023

CLERK OF COURT

The name, address, e-mail, and telephone number of the attorney representing (name of party) Lauren Handy _
, who requests this subpoena, are:

Martin A. Cannon, Esq.

10506 Burt Circle, Suite 110
Omaha, Nebraska 68114

Email: mcannonlaw@gmail.com
Phone: (402) 690-1484

Dennis E. Boyle, Esq.

1050 Connecticut Ave, Suite 500
Washington, D.C. 20036
Email:dboyle@dennisboylelegal.com
Phone: (202) 430-1900

